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UN|TED STATES D|STR|CT COURT
VVESTERN D|STR|CT OF NEW YORK

 

|V||RlAl\/| |\/|CKNIGHT

Plaintiff, ST|PULAT|ON OF D|SM|SSAL
V.
11-cv-6328P
C|TY OF ROCHESTER, NEW YORK,
G. VAS|L,

Defendants.

 

lT lS HEREBY ST|PULATED AND AGREED, by and between the undersigned,
the attorneys of record for all the parties to the above entitled action, that no person not
a party has an interest in the subject matter of the action, the above entitled action be,
and the same hereby is discontinued as against Defendants City of Rochester and G.
Vasil, With prejudice, With Defendants satisfying the judgment contained in the Decision
and Order of the Court dated September 27, 2018. This stipulation may be filed Without
further notice With the Clerk of the Court.

October if 2018/

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